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                                   IPP International U.G. Declaration Exhibit A
                                      File Hashes for IP Address 72.83.6.88

ISP: Verizon Fios
Physical Location: Capitol Heights, MD



Hit Date UTC           File Hash                                          Title
06/24/2018 04:04:01    40C4DBCA9FD987613EA49BB71233369C1172974A           Sunset Love

06/12/2018 14:20:08    C1185F1C2B8B4A03128C0C2159808646C4477926           A Long Time Cumming

06/12/2018 13:56:27    1DD159F189395113D58BBD8F8BC591C0C5076C9D           Purely Perfect Pink

04/03/2018 06:10:07    45BF4A440F1C00D1E2DCF46E8247E34C53A31D85           Wine Makes Me Anal


Total Statutory Claims Against Defendant: 4




                                                   EXHIBIT A
MD712
